Case 8:19-cv-00676-JLS-KES Document 10-11 Filed 05/06/19 Page1of4 Page ID #:97

EXHIBIT H
Case 8:19-cv-00676-JLS-KES Document 10-11 Filed 05/06/19 Page 2of4 Page ID #:98

Registration 4 YAQ002145122
Service Request #: 3174

 

Nail Certificate

 

Priority: Special Handling Application Date: April 01, 2019

Correspondent

 
Case 8:19-cv-00676-JLS-KES Document 10-11 Filed 05/06/19 Page 3o0f4 Page ID #:99

Registration Number

VA 2-145-122

Effective Date of Registration:

Aor OL, 2019

Copyright Registration for a Group of Published Photographs
Registration issued pursuant to 37 C.F.R. § 202.41

For Photographs Published:

Title

October 26, 2017 to October 26, 2017

 

Title of Group:
Number of Photographs in Group:

« Individual Photographs:

Published:

Completion/Publication

Athletic Clothing Photographs
"5

ae

Elite Sports Workout Standard MMA BJ Spats Base Layer Compression

Panis Tights, Elite Sports Black Jack Series Fight Shorts
October 2017

 

Year of Completion:

Earliest Publication Date in Growp:
Latest Publication Date in Group:
Nation of First Publication:

Author

2017
October 26, 2017
October 26, 2017

United States

 

® Author:
Author Created:
Work made for hire:
Citizen of:
Domiciled in:

Copyright Claimant

Diamond Graphies Studios
photographs

Yes

United States

United States

 

Copyright Claimant:

Transfer statement:

Rights and Permissions

Crorama, Inc.
340 N, Palm St., Suite A, Brea, CA, 92821, United States
By written agreement

 

Organization Name:

Manning & Kass Ellrod Ramirez Trester LLP

Page 1 of 2
Case 8:19-cv-00676-JLS-KES Document 10-11 Filed 05/06/19 Page 4 of 4

Name:
omail:
Telephone:
Ait. Phone:

Page ID #:100

 
   

Rolar nd 1 Ton g

9 JAG 440- 66 690

  
    

 

Address: 19800 MacArthur Boulevard
Suite 900
Irvine, CA 92612 United States
Certification
Name: Roland J. Tong
Date: April 01, 2019
Applicant's Tracking Number: 7382.70000

 

 

Copyright Office notes:

tle information: Deposit contains complete list of titles that
» the individual photographs included in this group.

Regarding titl
correspond to

d photographs may be
istered on one application with one filing fee only under limited
circumstances. ALL of the following are required: 1. All photographs (a) were
created by the same author AND (b) are owned by the same copyright claimant
AND (c) were published in the same calendar year AND 2. The group contains
750 photographs or less AND 3. A sequentially numbered list of photographs
containing the tite, file name and month of publication for cach photograph
included in the group must be uploaded z along with other required application
materials. The list must be submitted in an approved document format such as
.&LS or PDP. The file name for the numbered list must contain the title of the
group and the Case Number assigned to the application.

Regarding group registration: A group of publishe

 

     

Page 2 of 2
